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   1   Paul R. Kiesel, State Bar No. 119854
         kiesel@kiesel.law
   2   Helen E. Zukin, State Bar No. 117933
         zukin@kiesel.law
   3   Jeffrey A. Koncius, State Bar No. 189803
         koncius@kiesel.law
   4   Nicole Ramirez, State Bar No. 279017
         ramirez@kiesel.law
   5   KIESEL LAW LLP
       8648 Wilshire Boulevard
   6   Beverly Hills, CA 90211-2910
       Tel: 310-854-4444
   7   Fax: 310-854-0812
   8   Attorneys for Plaintiffs and the Proposed Classes
   9   (Additional Attorneys Listed on Signature Page)
 10                        UNITED STATES DISTRICT COURT
 11                       CENTRAL DISTRICT OF CALIFORNIA
 12    PAUL STOCKINGER, ELIZABETH                 Case No.: 17-cv-00035-VAP-KS
       STOCKINGER, GAILYN
 13    KENNEDY, BASUDEB DEY,                      PLAINTIFFS’ MEMORANDUM OF
       BRENDA FLINN, ELIEZER                      POINTS AND AUTHORITIES IN
 14    CASPER, and YVETTE ALLEY on                OPPOSITION TO DEFENDANT’S
       behalf of themselves and all others        MOTION TO DISMISS
 15    similarly situated,                        PLAINTIFFS’ FIRST AMENDED
                                                  COMPLAINT
 16                       Plaintiffs,
 17                                               Date: June 5, 2017
                   v.                             Time: 2:00 p.m.
 18    TOYOTA MOTOR SALES, U.S.A.,                Judge: Hon. Virginia A. Phillips
       INC., a California corporation,            Ctrm.: 8A, 8th Floor
 19
                          Defendant.
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                                                              AND AUTHORITIES IN OPPOSITION TO
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   1        An automobile should safely and reliably transport passengers without
   2 emitting noxious and foul odors into the passenger cabin. As other courts have
   3 recognized, “[a] vehicle that smells, lurches, clanks, and emits smoke over an
   4 extended period of time is not fit for its intended purpose.” Keegan v. Am. Honda
   5 Motor Co., 838 F. Supp. 2d 929, 946 (C.D. Cal. 2012) (quoting Isip v. Mercedes-
   6 Benz USA, LLC, 155 Cal. App. 4th 19, 27 (2007)).
   7       Despite numerous consumer complaints and long-standing knowledge that
   8 the Heating, Ventilation, and Air Conditioning system installed in Class Vehicles
   9 (the “Defective HVAC System”) is defective and emits foul odors into the vehicles’
  10 passenger compartments, Defendant Toyota Motor Sales U.S.A., Inc. (“Defendant”
  11 or “Toyota”) has failed to provide Plaintiffs and Class members with an adequate
  12 remedy.1 As Judge Olguin recently recognized in a similar case against Toyota,
  13 “Toyota cannot turn a blind eye (or in this case a pinched nose) to the many reports
  14 of noxious and foul odors emitted by the Camry’s HVAC system.” Salas v. Toyota
  15 Motor Sales, U.S.A., Inc., Case No. 15-cv-8629 FMO (C.D. Cal. Sept. 27, 2016),
  16
  17
       1
  18    As defined in the First Amended Complaint (“FAC”), Class Vehicles include:
       2010-2015 Toyota 4Runner, 2007-2015 Toyota Avalon, 2013-2015 Toyota Avalon
  19   HV, 2009-2015 Toyota Corolla, 2008-2015 Toyota Highlander, 2008-2015 Toyota
  20   Highlander HV, 2008-2015 Toyota Land Cruiser, 2009-2015 Toyota Matrix, 2006-
       2015 Toyota Prius, 2012-2015 Toyota Prius C, 2010-2015 Toyota Prius PHV,
  21   2012-2015 Toyota Prius V, 2006-2015 Toyota RAV4, 2008-2015 Toyota Sequoia,
  22   2004-2015 Toyota Sienna, 2007-2015 Toyota Tundra, 2009-2015 Toyota Venza,
       2007-2015 Toyota Yaris, 2007-2014 Toyota FJ Cruiser, 2013-2014 Lexus GS
  23   350/450h, 2014 Lexus IS 250/350, 2011-2014 Lexus CT 200h, 2007-2014 Lexus
  24   ES 350, 2013-2014 Lexus ES 300h, 2006-2011 Lexus GS 300/350/430/450h/460,
       2010-2014 Lexus GX 460, 2010-2012 Lexus HS 250h, 2006-2013 Lexus IS
  25   250/350, 2010-2014 Lexus IS 250C/350C, 2008-2014 Lexus IS F, 2012 Lexus
  26   LFA, 2007-2014 Lexus LS 460, 2008-2014 Lexus LS 600h, 2008-2014 Lexus LX
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  27   RX 350, and 2006-2008 Lexus RX 450h. FAC ¶ 2.
  28                                            1
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   1 ECF No. 38, at 18 n.11, attached as Exhibit 1 to the Declaration of Peter A. Muhic
   2 (“Muhic Decl.”) filed contemporaneously.
   3         In its Memorandum of Points and Authorities in Support of Motion to
   4 Dismiss First Amended Complaint (“Motion” or “Mot.”), Toyota does not
   5 challenge the basic fact that no reasonable consumer expects to purchase a vehicle
   6 containing an HVAC system that emits foul odors. Instead, Toyota argues that it is
   7 not the Defective HVAC System that has caused these unacceptable conditions, but
   8 instead other sources like “dirty gym clothes and take-out food; variations in
   9 outside temperature; and the frequency and settings of HVAC system usage.” Mot.
  10 at 2.
  11         Toyota’s self-serving hypothesis regarding the source of the odors and
  12 contaminants emitted by Class Vehicles directly contradicts the allegations in the
  13 First Amended Class Action Complaint (“FAC”), which must be taken as true on a
  14 motion to dismiss. Plaintiffs allege in no uncertain terms that the Defective HVAC
  15 System has caused noxious and foul odors to be emitted into Class Vehicles – not
  16 the other sources that Toyota suggests. See FAC ¶¶ 3, 5, 10, 17, 19, 21, 23, 25, 27,
  17 36-42, 49.      Toyota’s hypothetical, counter-factual speculation is a wholly
  18 insufficient basis to dismiss Plaintiffs’ FAC.
  19        Like the plaintiffs in Salas, and the numerous other cases concerning similar
  20 allegations about automotive defects, Plaintiffs here have pleaded sufficient facts to
  21 state claims against Toyota. This is true with respect to claims subject to notice
  22 pleading under Federal Rule of Civil Procedure 8(a), as well Plaintiffs’ fraud claims
  23 which are examined under Federal Rule of Civil Procedure 9(b)’s heightened
  24 pleading standard. Accordingly, as this Court and others have done when
  25 considering similar claims involving automobile defects, this Court should deny
  26 Toyota’s Motion and allow Plaintiffs to pursue recovery for the common wrongs
     they and Class members have suffered.
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                                                              PLAINTIFFS’ MEMORANDUM OF POINTS
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   1                              FACTUAL BACKGROUND
   2         The Class Vehicles are equipped with a Defective HVAC System that
   3 promotes and emits foul and noxious odors and/or mold and other contaminants
   4 into the air. FAC ¶ 36. Specifically, the Defective HVAC System fails to
   5 adequately remove water from the Defective HVAC Systems’ evaporators and
   6 surrounding enclosures, thus causing a moist environment that promotes foul odors
   7 and microbial growth. FAC ¶ 39. As cold refrigerant passes through and into the
   8 Defective HVAC System’s evaporator, it absorbs heat from the air and produces
   9 liquid water as the air is dehumidified. FAC ¶ 41. A properly functioning HVAC
  10 system will drain the condensed, collected water through a rubber hose onto the
  11 ground. Id. However, the Defective HVAC System fails to adequately drain this
  12 condensed water, aggravating the tendency of the mold growth and causing and
  13 foul and noxious odors to be emitted from the Defective HVAC system from
  14 pollen, debris and other contaminants that become trapped in the undrained water.
  15 Id.
  16         The Defective HVAC System has created at least two safety hazards. First,
  17 where the undrained water has led to mold and microbial growth on the evaporator,
  18 the mold and microbial pollution is sent into the passenger compartment. Indoor
  19 exposure to mold has been linked to upper respiratory tract symptoms, cough, and
  20 wheeze in otherwise healthy people; with asthma symptoms in people with asthma
  21 and with hypersensitivity pneumonitis in individuals susceptible to that immune-
  22 mediated condition. FAC ¶ 43. There is also evidence linking mold exposure with
  23 respiratory illness in otherwise healthy children, and there is evidence of a potential
  24 link between mold exposure and the development of asthma in children. FAC ¶¶
  25 43-44. Further, as recognized in a Safety Recall issued by Defendant in 2014, the
  26 trapped water has the potential to leak into the airbag module, which can short
     circuit the circuit board inside the module, illuminating the airbag warning light and
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                                                               PLAINTIFFS’ MEMORANDUM OF POINTS
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   1 disabling the airbag or causing inadvertent deployment. FAC ¶ 46. No reasonable
   2 consumer expects to purchase a vehicle with a Defective HVAC System that
   3 exposes them to foul and noxious odors and/or unsafe conditions. Plaintiffs and
   4 members of the Class had no reasonable way to know that the Class Vehicles
   5 contained Defective HVAC Systems and posed a safety hazard. FAC ¶ 45.
   6         In unknowingly purchasing or leasing these Class Vehicles with Defective
   7 HVAC Systems, Plaintiffs and members of the Class paid more for their vehicles
   8 than they should have and suffered increased depreciation and diminished market
   9 value and other damages, including health risks, as a result of Toyota’s material
  10 misrepresentations and omissions regarding the standard, quality or grade of the
  11 Class Vehicles and/or the existence of the Defective HVAC System. FAC ¶¶ 47,
  12 48. Accordingly, Plaintiffs bring this lawsuit seeking recovery on their own behalf
  13 and on behalf of similarly situated Class members.
  14                                  LEGAL STANDARD
  15         In considering a motion to dismiss under Rule 12(b)(6), the Court must
  16 construe the complaint in favor of Plaintiffs, accept the allegations of the complaint
  17 as true, and determine whether Plaintiffs’ factual allegations present plausible
  18 claims. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 554-56 (2007). A claim has
  19 facial plausibility when the plaintiff pleads “factual content that allows the court to
  20 draw the reasonable inference that the defendant is liable for the misconduct
  21 alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
  22         Under Rule 12(b)(6), the Court must draw all reasonable inferences in favor

  23 of the nonmoving party. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th
  24 Cir. 1996); Mier v. Owens, 57 F.3d 747, 750 (9th Cir. 1995). Dismissal under Rule
  25 12(b)(6) is proper only where there is either a “lack of a cognizable legal theory or
  26 the absence of sufficient facts alleged under a cognizable legal theory.” Balistreri
       v. Pacifica Police Dept., 901 F. 2d 696, 699 (9th Cir. 1988) (citation omitted).
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                                                               PLAINTIFFS’ MEMORANDUM OF POINTS
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   1 “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for
   2 more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft, 556
   3 U.S. at 678.
   4         Fraud claims are subject to the heightened pleading standard under Rule 9(b),
   5 under which a plaintiff must “state with particularity the circumstances constituting
   6 fraud.” FED. R. CIV. P. 9(b). This heightened pleading standard is required so a
   7 defendant “can defend against the charge and not just deny that they have done
   8 anything wrong.” Sater v .Chrysler Group, LLC, No. 14-cv-00700-VAP, 2015 WL
   9 736273, at *3(C.D. Cal. Feb. 20, 2015) (Phillips, J.) (quoting Kearns v. Ford Motor
  10 Co., 567 F.3d 1120, 1024 (9th Cir. 2009)). However, “[w]hen a claim rests on a
  11 fraudulent omission, the Rule 9(b) standard is somewhat relaxed because ‘a
  12 plaintiff cannot plead either the specific time of [an] omission or the place, as he is
  13 not alleging an act, but a failure to act.’” Oddo v. Arcoaire Air Conditioning &
  14 Heating, No. 15-cv-01985, 2017 WL 372975, at *18 (C.D. Cal. Jan. 24, 2017)
  15 (quoting Huntair, Inc. v. Gladstone, 774 F. Supp. 2d 1035, 1044 (N.D. Cal. 2011)).
  16 Under Rule 9(b), “[m]alice, intent, knowledge, and other conditions of a person’s
  17 mind may be alleged generally.” FED. R. CIV. P. 9(b).
  18                                       ARGUMENT
  19 I.      PLAINTIFFS HAVE SUFFICIENTLY ALLEGED A DEFECT
  20         Although Toyota attempts to couch its argument as being based on
  21 plausibility and specificity, Toyota’s challenge is really directed at refuting
  22 Plaintiffs’ claims that the Defective HVAC System causes odors and contaminants
  23 to be emitted into the passenger compartments of Class Vehicles. Mot. at 8-12. As
  24 this Court has recognized, arguments that raise facts contrary to the complaint are
  25 not appropriate at the motion to dismiss stage. See GeoData Sys. Mgmt., Inc. v.
  26 Am. Pac. Plastic Fabricators, Inc., No. 15-cv-04125-VAP, 2016 WL 6562064, at
       *10 (C.D. Cal. Apr. 21, 2016) (Phillips, J.) (rejecting defendants’ “attempt to couch
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                                                               PLAINTIFFS’ MEMORANDUM OF POINTS
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   1 their argument as one regarding specificity,” finding that if defendants intend “to
   2 raise facts contrary to the complaint . . . they must wait until a later stage in the
   3 proceedings”).
   4        Taking the allegations in the FAC as true, and drawing reasonable inferences
   5 in favor of Plaintiffs, there can be no question that Plaintiffs have alleged viable
   6 claims based on a Defective HVAC system in the Class Vehicles. As described
   7 above, Plaintiffs allege the Defective HVAC System fails to properly drain water
   8 and moisture, creating an environment that is susceptible to the growth of mold and
   9 other contaminants and/or causes foul odors to be emitted into the passenger
  10 compartments of the Class Vehicles. FAC ¶¶ 39-41.
  11        Moreover, it is well established that claims made on information are
  12 sufficient when they are accompanied by “a statement of facts on which the belief
  13 is founded.” Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1042
  14 (9th Cir. 2010) (citation omitted). Here, Plaintiffs’ allegations about the foul odors
  15 being emitted from the Defective HVAC System are based on personal experience,
  16 not upon “information and belief” as Toyota suggests. See FAC ¶ 17 (Stockinger
  17 Plaintiffs exposed to noxious and foul odors emitted from the Defective HVAC
  18 System, including “a ‘musty water’ smell when the vehicle starts”); ¶ 19 (Defective
  19 HVAC System installed in Plaintiff Kennedy’s vehicle emits “a musty, burnt
  20 caramel smell every time she is in the vehicle”); ¶ 21 (Plaintiff Dey “experienced
  21 incidents where he and occupants of his vehicle have been exposed to noxious and
  22 foul odors emitted from the Defective HVAC System”); ¶ 23 (Plaintiff Flinn’s
  23 vehicle contains a Defective HVAC System that “exposes drivers and passengers to
  24 noxious and foul odors”); ¶ 25 (Plaintiff Casper and occupants “have experienced
  25 incidents where they have been exposed to noxious and foul odors emitted from the
  26 Defective HVAC System, including moldy smells”); ¶ 27 (Plaintiff Alley’s vehicle
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                                                              PLAINTIFFS’ MEMORANDUM OF POINTS
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   1 contains a Defective HVAC System, “which exposes drivers and passengers to
   2 noxious and foul odors”).
   3        While Plaintiffs’ allegations about the odors emanating from the Defective
   4 HVAC System are based on first hand experienced, Plaintiffs also allege upon
   5 information and belief that the foul smelling air is also “filled with mold and other
   6 contaminants.” Id. Here, as alleged, Plaintiffs’ belief is based on information
   7 contained in Toyota’s own course manuals that the odors are caused by, inter alia,
   8 “[m]icrobes [i.e., mold] growing on the evaporator surface” including “small living
   9 bacteria . . . carried into the evaporator case [that] grow in the warm, moist
  10 environment” of the HVAC System. FAC ¶ 5. As such, Plaintiffs have pled
  11 sufficient facts to support their allegation that the odor is caused by “mold or other
  12 contaminants” in the HVAC System, and Toyota’s argument should be rejected.
  13 See Crescent Wood Working Co. v. Accent Furniture, Inc., No. 04-cv-1318, 2005
  14 WL 5918848, at *4 (C.D. Cal. Aug. 10, 2005) (allegations based on information
  15 and belief are sufficient, “so long as the allegations are accompanied by a statement
  16 of facts upon which the belief is founded” and can support a reasonable inference of
  17 fraud) (citation omitted); Soo Park v. Thompson, 851 F.3d 910, 928 (9th Cir. 2017)
  18 (“The Twombly plausibility standard . . . does not prevent a plaintiff from pleading
  19 facts alleged upon information and belief . . . where the belief is based on factual
  20 information that makes the inference of culpability plausible.”) (citation omitted).
  21       Toyota’s reliance on Yagman v. General Motors Company, No. 14-cv-4696,

  22 2014 WL 4177295 (C.D. Cal. Aug. 22, 2014) and DeCoteau v. FCA US LLC, No.
  23 15-cv-00020, 2015 WL 6951296, at *3 (E.D. Cal. Nov. 10, 2015) is misplaced. In
  24 Yagman, an auto defect case, the plaintiff alleged only that the “vehicle’s engine
  25 stopped working” and that it “experienced a total electrical failure” – nothing more
  26 with respect to the defect. 2014 WL 4177295, at *3. On defendant’s motion to
     dismiss, the court understandably found that plaintiff had not “pled sufficient facts
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   1 to support his suggestion that a manufacturing defect is a plausible cause of the
   2 harm.” Id. Likewise, in DeCoteau, the complaint included only a “conclusory
   3 allegation that the Transmission Defect exists and is responsible for [] injuries,”
   4 which the court found insufficient. 2015 WL 6951296, at *3. Unlike the bare-
   5 bones allegations in both Yagman and DeCoteau, Plaintiffs here allege sufficient
   6 facts supporting their claim that the odors were caused by a defect in the HVAC
   7 System. See Victorino v. FCA US LLC, No. 16-cv-1617, 2016 WL 6441518, at *4-
   8 5 (S.D. Cal. Nov. 1, 2016) (distinguishing Yagman and DeCoteau).
   9 II.     PLAINTIFFS SUFFICIENTLY PLEAD BREACH OF WARRANTY
  10         Toyota’s arguments for dismissing Plaintiffs’ claims for breach of express
  11 and implied warranties are unavailing.
  12         A.    Toyota Breached its Express Warranties
  13         The Defective HVAC System is covered by Toyota’s New Vehicle Limited
  14 Warranty and the Lexus Basic Warranty; however, although Toyota has repaired
  15 certain Class Vehicles based on consumer complaints, those repairs merely replaced
  16 air filters and/or performed other measures that, according to the Toyota Course
  17 Manual and the Technical Service Bulletins (“TSBs”) issued by Defendant, are not
  18 effective to repair the Defective HVAC System as warranted. FAC ¶¶ 11, 56.
  19               1.     The Warranties Cover the Alleged Defect
  20         Toyota’s mischaracterization of Plaintiffs’ allegations as solely concerning a
  21 design defect does not control whether the complaint survives. At “the pleading
  22 stage, where the distinction between defect in design and defect in materials or
  23 workmanship is a matter of semantics, and sufficient facts are alleged to assert both,
  24 the defendant’s characterization of the nature of the claim pre-discovery should not
  25 control whether the complaint survives.” Alin v. Am. Honda Motor Co., No. 08-cv-
  26 4825, 2010 WL 1372308, at *6 (D.N.J. Mar. 31, 2010); see also In re Toyota Motor
       Corp. Unintended Acceleration Mktg., Sales Practices, & Prods. Liab. Litig., 754
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   1 F. Supp. 2d 1145, 1181 (C.D. Cal. Nov. 30, 2010) (“Toyota I”). Here, while
   2 Plaintiffs do allege that the Defective HVAC System is defectively designed,
   3 Plaintiffs also allege that the noxious and foul odors could also be caused by defects
   4 in materials, workmanship, or manufacture. See ¶¶ 45, 109, 111, 123, 146, 149.
   5 Plaintiffs unmistakably allege that condensed water is collecting in the evaporator
   6 and surround enclosure when it is supposed to drain out though a hose onto the
   7 ground. FAC ¶ 41. While the trapped water may be caused by a defective design,
   8 discovery is needed to determine whether the water could also become trapped due
   9 to defects in the manufacturing process or particular materials that were used in the
  10 HVAC assembly.
  11         Furthermore, although this Court held otherwise in Sater, other courts have
  12 found that design defects are covered by warranties covering workmanship. See
  13 Koulajian v. Trek Bicycle Corp., No. 90-cv-3156, 1992 WL 28884, at *2 (S.D.N.Y.
  14 Feb. 11, 1992) (the term “‘workmanship’ could refer to . . . designs as well as to
  15 implementation of those designs in the manufacturing process”). See also Daniel v.
  16 Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015) (where an express warranty is
  17 ambiguous, it “must be construed to guarantee against both manufacturing and
  18 design defects.”).
  19             2.     Toyota Refuses to Remedy the Defect
  20         Additionally, Plaintiffs’ express warranty claims do not fail on account of
  21 Plaintiffs’ purported failure to allege that they “sought repairs of the alleged defect
  22 during the warranty period for his or her vehicle” or that “Toyota failed to repair the
  23 vehicle in response to such a request.” Mot. at 13. Where a warrantor is unable to
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  24 cure a defect, the limitation requiring repair is nullified. See U.C.C. § 2-719(2)
  25   2
      This U.C.C. provision has been adopted in all six states in which Plaintiffs reside.
  26 See CAL. COM. CODE § 2719(2); COLO. REV. STAT. § 4-2-719(2); FLA.
     STAT. § 672.719(2); VA. CODE ANN. § 59.1-508.3(b); Kan. Stat. Ann. § 84-2-
  27 719(2); Wash. Rev. Code Ann. § 62A.2-719(2).
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   1 (“Where circumstances cause an exclusive or limited remedy to fail of its essential
   2 purpose, remedy may be had as provided in this [code].”); Galoski v. Stanley Black
   3 & Decker, Inc., No. 14-cv-553, 2015 WL 5093443, at *6 (N.D. Ohio Aug. 28,
   4 2015) (denying defendant’s motion for summary judgment with respect to breach of
   5 express warranty claim based on futility argument and noting that “[defendant] does
   6 not contend that it could have repaired or replaced the product with a working
   7 version”).
   8        Toyota has made abundantly clear that any effort on Plaintiffs’ part to seek a
   9 permanent fix to the defect would have been futile. Indeed, beginning in 1997,
  10 Toyota and Lexus issued a series of TSBs to their exclusive network of dealerships
  11 acknowledging the foul and noxious odors emanating from the Defective HVAC
  12 Systems and admitting that there is no way to rectify the problem and eliminate the
  13 odors. FAC ¶ 4. Toyota also admitted in its course manual on air conditioning and
  14 climate control that HVAC odors “are a common complaint” of Class Vehicle
  15 owners and that “there is no permanent mechanical repair.”             Id.   Plaintiffs’
  16 allegations of futility are further supported by the fact that individuals who filed
  17 complaints with NHTSA stated that Toyota and Lexis replaced the air filters and
  18 attempted other repairs, but failed to remove the odor. FAC ¶ 56.
  19       Toyota’s cases are inapposite. Indeed, in Cooley v. Big Horn Harvestore
  20 Systems, Inc., the court found defendant’s argument that it was not given the
  21 opportunity to repair or replace not persuasive because the agreement at issue was
  22 unclear as to the method or means for seeking repair or replacement. 813 P. 2d
  23 736, 745 (Colo. 1991). Similarly in David v. American Suzuki Motor Corporation,
  24 the court did not dismiss warranty claims for failure to present the product for
  25 repair, instead, the court focused on whether plaintiff’s remedy under the breach of
  26 warranty claim was limited to repair or replacement. 629 F. Supp. 2d 1309, 1319
     (S.D. Fla. 2009). See also Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F.
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   1 Supp. 2d 962, 978 (C.D. Cal. 2014) (examining whether repair or replacement
   2 would be futile); Toyota I, 754 F. Supp. 2d at 1179 (same); Coe v. Philips Oral
   3 Healthcare, Inc., No. 13-cv-518, 2014 WL 722501 (W.D. Wash. Feb. 24, 2014)
   4 (recognizing the futility exception).
   5        B.     Toyota Breached its Implied Warranties
   6        Under California, Florida, Kansas, Virginia, Washington, and Colorado law,
   7 the implied warranty of merchantability requires that products possess “the most
   8 basic degree of fitness for ordinary use.” Mocek v. Alfa Leisure, Inc., 114 Cal. App.
   9 4th 402, 406 (2003); Maronda Homes, Inc. of Florida v. Lakeview Reserve
  10 Homeowners Ass'n, Inc., 127 So. 3d 1258, 1268 (Fla. 2013) (implied warranties of
  11 fitness and merchantability require a product to be “reasonably fit for the ordinary
  12 or general purpose intended”); Hodges v. Johnson, 199 P.3d 1251, 1257 (Kan.
  13 2009) (quoting K.S.A. 84-2-314(2)(c) (defining merchantable goods as goods that
  14 are “fit for the ordinary purposes for which such goods are used”); Morgen Indus.,
  15 Inc. v. Vaughan, 471 S.E.2d 489, 492 (Va. 1996) (implied warranty requires goods
  16 to be fit for the use to which they would ordinarily be put); Thomas v. Ruddell
  17 Lease-Sales, Inc., 716 P.2d 911, 915 (Wash. 1986) (holding that to be
  18 merchantable, goods must be “fit for the ordinary purposes for which such goods
  19 are used”); Fiberglass Component Prod., Inc. v. Reichhold Chems., Inc., 983 F.
  20 Supp. 948, 958 (D. Colo. 1997) (“To be ‘merchantable,’ goods must be fit for their
  21 ordinary purpose”).
  22        With respect to automobiles, fitness for ordinary use requires that the vehicle

  23 do more than just “provide[] transportation from point A to point B.” Isip v.
  24 Mercedes-Benz USA, LLC, 155 Cal. App. 4th, 19, 27 (Cal. Ct. App. Sept. 12, 2007).
  25 A vehicle that smells is not fit for its intended purpose. Id.; Muhic Decl., Ex. 1 at
  26 20 (rejecting argument that Toyota Camry was fit for ordinary purpose, and
       sustaining implied warranty claim, where HVAC system emitted noxious and foul
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   1 odors); Hodges, 199 P.3d at, 1261 (finding a defective air conditioner that caused,
   2 inter alia, a strong odor, could breach the implied warranty of merchantability
   3 because it disrupted the intended purpose of comfort in travel).
   4       In addition, to comply with the implied warranty of fitness, an automobile
   5 must also be safe. Ferrari v. Nat. Partners, Inc., No. 15-cv-04787, 2016 WL
   6 4440242, at *11 (N.D. Cal. Aug. 23, 2016) (“fitness for the ordinary purpose is
   7 shown if the product is in safe condition and substantially free of defects”). Here,
   8 as alleged, the foul and noxious odors caused by the Defective HVAC System
   9 expose passengers to mold and other contaminants that pose a serious health risk,
  10 and the trapped water can also disrupt the operation of vehicles’ airbag systems.
  11 FAC ¶¶ 43-46. At most, Toyota’s interpretation of the Center for Disease Control’s
  12 publication about mold exposure creates a disputed issue of fact – it comes nowhere
  13 close to conclusively disproving Plaintiffs’ allegations. See Mot. at 20.
  14          Toyota’s argument that Plaintiffs’ implied warranty claim under California,
  15 Florida, Washington and Virginia law should be dismissed for lack of privity also
  16 fails.    Mot. at 14-15.   While Toyota is correct that the court in Clemens v.
  17 DaimlerChrysler Corp., 534 F.3d 1017, 1023 (9th Cir. 2008) dismissed implied
  18 warranty claims against an automobile manufacturer for lack of privity, as this
  19 Court has recognized, there is “a well-established exception to that rule, which
  20 entitles intended third-party beneficiaries to assert their own breach of warranty
  21 claims.” Sater, 2015 WL 736273, at *8. See also Bryde v. Gen. Motors, LLC, No.
  22 16-cv-02421, 2016 WL 6804584, at *15-16 (N.D. Cal. Nov. 17, 2016); Keegan v.
  23 Am. Honda Motor Co., Inc., 838 F. Supp. 2d 929, 948 (C.D. Cal. 2012).
  24 Washington also recognizes the third party beneficiary exception to the privity rule.
  25 Berschauer Phillips Const. Co. v. Concrete Sci. Servs. of Seattle, L.L.C., 135 Wash.
  26 App. 1025 (Wash. Ct. App. 2006) (Washington has carved out an exception to this
     vertical privity requirement “where the plaintiff was the intended third party
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   1 beneficiary of the implied warranty that the manufacturer gave to its intermediate
   2 dealer). Similarly, lack privity is not a defense to implied warranty claims against
   3 under Virginia and Florida. See In re Volkswagen Timing Chain Litig., Case No.
   4 16-cv-2765 (D.N.J. May 8, 2016), ECF No. 48, at 33, attached as Exhibit 2 to the
   5 Muhic Decl. (vertical privity not required under Florida law); Williams v. Gradall
   6 Co., 990 F. Supp. 442, 445 (E.D. Va. 1998) (“Lack of privity of contract, however,
   7 is no longer a defense in Virginia to a claim of breach of warranty.”) (citation
   8 omitted); Sanchez-Knutson v. Ford Motor Co., 52 F. Supp. 3d 1223, 1234 (S.D.
   9 Fla. 2014) (holding that purchaser of alleged defective vehicle sufficiently alleged
  10 breach of implied warranty despite lack of privity under Florida law). Here, the
  11 intended beneficiaries of the warranties are the ultimate purchasers and drivers of
  12 Class Vehicles, not the vehicle dealerships. Accordingly, Plaintiffs have pleaded
  13 viable implied warranty claims.
  14        C.    Plaintiffs State MMWA and Song-Beverly Claims
  15        “Claims under the Magnuson–Moss Warranty Act (“MMWA”) stand or fall
  16 with express and implied warranty claims under state law.” Daniel, 806 F.3d at
  17 1227 (internal quotations omitted).     Thus, because Plaintiffs adequately plead
  18 warranty claims, they also have properly stated claims under the MMWA. The
  19 same is true for Plaintiff Dey’s Song Beverly-Act Claim brought on behalf of the
  20 California sub-class. See Keegan, 838 F. Supp. 2d at 948 (holding plaintiff
  21 adequately pled a claim under the Song-Beverly Act because he adequately pled a
  22 claim for breach of the implied warranty of merchantability).
  23       Additionally, the MMWA does not require that Plaintiffs follow Toyota’s

  24 purported informal dispute resolution procedures (“IDR”), as Toyota contends.
  25 Mot. at 15-16. Even where an automobile manufacturer sets up a mandatory IDR
  26 procedure, the MMWA does not require that Plaintiffs comply with the IDR
     process where such compliance would be futile. See Toyota I, 754 F. Supp. 2d at
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   1 1188-89. Here, as described above, Plaintiffs allege specific facts showing that
   2 Defendant has acknowledged the existence of the Defective HVAC System and
   3 related safety and health hazards, but will not fix the problem. FAC ¶¶ 4, 5, 56, 63.
   4 Indeed, Defendant has specifically advised that “there is no permanent mechanical
   5 repair” and that “there is no way to eliminate these odors.” FAC ¶¶ 4-5.
   6 Accordingly, any attempt by Plaintiffs to follow the IDR procedure would have
   7 been futile; therefore, Plaintiffs’ MMWA claims should be upheld.
   8 III.    PLAINTIFFS SUFFICIENTLY PLEAD COMMON-LAW FRAUD
   9         To state a claim for common-law fraud, Plaintiffs must allege “(1) a
  10 misrepresentation (false representation, concealment, or nondisclosure); (2)
  11 knowledge of falsity (or scienter); (3) intent to defraud, i.e., to induce reliance; (4)
  12 justifiable reliance; and (5) resulting damage.” Avedisian v. Mercedes-Benz USA,
  13 LLC, No. 12-cv-936, 2013 WL 2285237, at *8 (C.D. Cal. May 22, 2013) (quoting
  14 Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 990 (2004)). See also
  15 Gandy v. Trans World Comput. Tech. Grp., 787 So. 2d 116, 118 (Fla. Dist. Ct. App.
  16 2001); Commander Props. Corp. v. Beech Aircraft Corp., 164 F.R.D. 529, 539 (D.
  17 Kan. 1995); Glaser v. Enzo Biochem, Inc., 126 F. App'x 593, 599 (4th Cir. 2005);
  18 Kirkham v. Smith, 23 P.3d 10, 13 (Wash. Ct. App. 2001); Colo. Motor Vehicle
  19 Dealer Bd. v. Butterfield, 9 P.3d 1148, 1152 (Colo. Ct. App. 2000).
  20         Here, Toyota challenges the first element, asserting that Plaintiffs’ fraud-
  21 based claims should be dismissed for failure to allege “a material misrepresentation
  22 or omission that Toyota had a duty to disclose.” Mot. at 16. As shown below,
  23 Plaintiffs satisfy all of the required pleading elements.
  24        A.     Plaintiffs’ Fraud Claims Satisfy Rule 9(b)

  25         Plaintiffs have sufficiently alleged that Toyota omitted and/or concealed the

  26 existence of the Defective HVAC System to increase profits by selling additional
     Class Vehicles. Specifically, Plaintiffs allege that since 1997 Defendant possessed
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  28                                               14
                                                               PLAINTIFFS’ MEMORANDUM OF POINTS
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   1 exclusive and superior knowledge of the safety hazard associated with the
   2 Defective HVAC System that emits foul and noxious odors and/or air filled with
   3 mold and other contaminants. FAC ¶¶ 8, 49-50. Despite this knowledge,
   4 Defendant intentionally withheld this information and failed to disclose the defect
   5 to consumers at the time of purchase or lease of the Class Vehicles. FAC ¶¶ 51-53.
   6 Rather than disclosing or fixing the defect, Defendant concealed the safety hazard
   7 through partial representations and omissions including that:
   8                    Defendant was “confident [] that your Toyota will
   9                     provide you with many years of enjoyable driving.”
  10                    Defendant was “dedicated to ensuring that you enjoy
  11                     exceptional quality, dependability and peace of mind
  12                     throughout your ownership experience.”
  13 FAC ¶¶ 124-25. Yet, unbeknown to Plaintiffs, the Class Vehicles contained a
  14 “concealed defect that causes the Defective HVAC System to emit noxious and foul
  15 odors and/or emit mold and other contaminants.” FAC ¶10.
  16        Toyota’s counter-factual argument that Plaintiffs failed to allege an omission
  17 rests on the misguided assertion that the noxious and foul odors originated from
  18 sources other than the Defective HVAC System. See Mot. at 18. Again, Plaintiffs
  19 allege in no uncertain terms that the Defective HVAC System emitted noxious and
  20 foul odors and/or emit mold and other contaminants into the Class Vehicles beyond
  21 what a reasonable consumer would expect. FAC ¶¶ 10, 17, 19, 21, 23, 25, 27, 29,
  22 45, 69, 96. At most, the owners’ manuals for certain Plaintiffs’ vehicles that
  23 Toyota attaches as exhibits suggest that the potential for routine HVAC odor could
  24 be reduced. Toyota did not disclose that it has known for many years that the Class
  25 Vehicles incorporate a defectively designed and/or manufactured HVAC System
  26 that creates foul odors and unsafe conditions – beyond what a reasonable consumer
     would expect – as alleged in the FAC. Multiple courts have found similar
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   1 allegations regarding concealed automobile safety defects sufficient to satisfy Rule
   2 9(b). See, e.g., Victorino, 2016 WL 6441518, at *5-9; Sater, 2015 WL 736273, at
   3 *11-13; Toyota I, 754 F. Supp. 2d at 1190-91; Marsikian v. Mercedes Benz USA,
   4 LLC, No. 08-cv-04876, 2009 WL 8379784, at *8-9 (C.D. Cal. May 4, 2009)
   5 (defective air intake system); Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088,
   6 1099 (N.D. Cal. 2007) (defective speedometers).
   7        Plaintiffs’ allegations are far different from those alleged in Eisen v. Porsche
   8 Cars North America, Inc., No. 11-cv-9405, 2012 WL 841019 (C.D. Cal. Feb. 22,
   9 2012).      In Porsche, the allegations were found to be deficient because the
  10 allegations lacked the particularity required under Rule 9(b).         Id. at *3.     For
  11 example, in Porsche, the plaintiff alleged that an engine shaft fails without
  12 explaining how it fails and alleged that the defect caused “engine failure” but did
  13 not expound on what parts of the vehicle were impacted. Id. In contrast, Plaintiffs
  14 here plainly allege that the failure to properly drain moisture from the HVAC
  15 causes foul odors. FAC ¶¶ 43-48. Unlike the plaintiffs in Porsche, Plaintiffs
  16 sufficiently link the odors to a particular defect in HVAC system.
  17        B.     Toyota Had a Duty to Disclose
  18        Toyota had a duty to disclose because it had exclusive and superior
  19 knowledge of the defect, but made only partial disclosures and concealed the safety
  20 risks.
  21        There is a duty to disclose where a defendant is in possession of exclusive

  22 knowledge of a defect. “[E]xclusivity is analyzed in part by determining whether
  23 the defendant has superior knowledge.” In re MyFord Touch Consumer Litig., 46 F.
  24 Supp. 3d 936, 960 (N.D. Cal. 2014) (finding manufacturer had duty to disclose
  25 based on exclusive knowledge of a defect under, inter alia, California,
  26 Massachusetts, New York, and Pennsylvania common law and consumer protection
     statutes); Toyota I, 754 F. Supp. 2d at 1174 (duty to disclose under California
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   1 statutory and common law where defendant has superior knowledge); Carideo v.
   2 Dell, Inc., 706 F. Supp. 2d 1122, 1133 (W.D. Wash. 2010) (sustaining fraudulent
   3 concealment claim under Washington law where plaintiffs pled that “[defendant]
   4 was in a superior position to know the facts about the hidden defects in the
   5 computers [] and common sense dictates that the defects alleged by Plaintiffs are
   6 not of the sort readily ascertainable to the average customer”); Great Plains
   7 Christian Radio, Inc. v. Cent. Tower, Inc., 399 F. Supp. 2d 1185, 1195 (D. Kan.
   8 2005) (a duty to disclose under Kansas law may be imposed where defendant had
   9 “superior knowledge combined with a relationship between the parties in the sense
  10 that there is, for example, a disparity of bargaining power or expertise”); McCabe v.
  11 Daimler AG, 948 F. Supp. 2d 1347, 1370 (N.D. Ga. 2013) (sustaining fraudulent
  12 concealment claim under Virginia law in auto defect case).
  13        Toyota had exclusive and superior knowledge of the Defective HVAC
  14 System by virtue of consumer complaints, field data, pre-production testing, pre-
  15 production design failure mode analysis, production design failure mode analysis of
  16 Class Vehicles and other FCA vehicles incorporating shift-by-wire technology.
  17 FAC ¶¶ 54-67. Courts unquestionably find a duty to disclose based on these types
  18 of allegations. See, e.g., Majdipour v. Jaguar Land Rover N. Am., LLC, No. 12-cv-
  19 07849, 2013 WL 5574626, at *3 (D.N.J. Oct. 9, 2013) (plaintiffs sufficiently
  20 alleged automobile manufacturer had exclusive and superior knowledge through
  21 consumer complaints, pre-release testing data, and TSBs issued to dealers); Ehrlich
  22 v. BMW of N. Am., LLC, 801 F. Supp. 2d 908, 918 (C.D. Cal. 2010) (plaintiffs
  23 sufficiently alleged automobile manufacturer had exclusive knowledge through
  24 “pre-release testing data, early consumer complaints to BMW and dealers, testing
  25 done in response to complaints, replacement part sales data, aggregate data from
  26 BMW dealers, and other internal sources”).
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   1         Toyota argues that Florida and Colorado law do not recognize that
   2 “exclusive” knowledge establishes a duty to disclose. Contrary to Toyota’s claim,
   3 Florida appellate courts have long recognized that exclusive and superior
   4 knowledge may give rise to a duty to disclose under Florida law. As the court
   5 recognized in Hooper v. Barnett Bank of W. Florida, 474 So.2d 1253, 1257 (Fla.
   6 App. 1985), Florida law recognizes three circumstances which give rise to a duty to
   7 disclose, including where a party “has knowledge of material facts to which the
   8 other party does not have access.” See also Drilling Consultants, Inc. v. Hartford
   9 Life & Annuity Ins. Co., No. 12-cv-2690, 2014 WL 12575842, at *1 (M.D. Fla.
  10 Apr. 11, 2014) (denying summary judgment and finding genuine issues of fact with
  11 respect to “whether [defendant] had superior and exclusive knowledge giving rise
  12 to its duty to disclose”). Colorado, meanwhile, has articulated a duty to disclose
  13 which is broad and which implicates equitable concerns. See Mallon Oil Co. v.
  14 Bowen/Edwards Assocs., Inc., 965 P.2d 105, 111 (Colo. 1998) (“A defendant has a
  15 duty to disclose to a plaintiff with whom he or she deals material facts that ‘in
  16 equity or good conscience’ should be disclosed.”) (citation omitted).
  17         Further, a duty to disclose may be imposed after partial disclosures. See
  18 Boschma v. Home Loan Ctr., Inc., 198 Cal. App. 4th 230, 249 (2011) (partial
  19 disclosure triggered duty to disclose); In re Takata Airbag Prod. Liab. Litig., No. 15-
  20 md-2599, 2017 WL 775811, at *4 (S.D. Fla. Feb. 27, 2017) (duty to disclose under
  21 Florida law where defendant’s prior representations were incomplete and misleading);
  22 In re Donnell, 479 B.R. 592, 596 (D. Colo. 2012) (duty to disclose where
  23 “necessary to prevent [a] partial or ambiguous statement from being misleading”);
  24 Carideo v. Dell, Inc., 706 F. Supp. 2d 1122, 1133 (W.D. Wash. 2010) (duty to
  25 disclose “if necessary to prevent a partial or ambiguous statement of facts from
  26 being misleading”) (citation omitted); Gonzales v. Assocs. Fin. Serv. Co. of Kansas,
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   1 967 P.2d 312, 332 (1998) (duty to disclose where “necessary to prevent [a] partial
   2 or ambiguous statement of the facts from being misleading”).
   3         Toyota made partial disclosures that gave rise to a duty to disclose. By its
   4 own admission, Toyota disclosed only the “possibility of HVAC odor” in its
   5 owner’s manuals, stating that “various odors from inside and outside the vehicle
   6 may enter into and accumulate in the air conditioning system. This may then cause
   7 odor to be emitted from the vents.” Mot. at 6. This disclosure was far from
   8 complete, as it did not acknowledge that the Defective HVAC Systems fail to
   9 adequately drain condensed water and thus create foul odors and unsafe conditions.
  10 Notably, the disclosure did not reference that the odors are cause by “microbes”
  11 growing on the evaporator surface, even though Toyota recognized the same in its
  12 Course Manual and TSBs. See, e.g., FAC ¶ 5, 58. Nor, does the disclosure inform
  13 Plaintiffs and the Class that Toyota had determined that “there is no permanent
  14 mechanical repair” and “no way to eliminate these odors.” Id. at ¶¶ 5, 63. Indeed,
  15 if anything, Toyota’s inclusion of excerpts from certain Owners Manuals support
  16 Plaintiffs’ allegations that Toyota was not forthright about the full extent of the
  17 noxious and foul odors caused by the Defective HVAC System – suggesting instead
  18 that drivers and passengers may only be exposed to routine odors that could be
  19 expected and eliminated.
  20         In addition, Toyota was under a duty to disclose because the Defective
  21 HVAC System poses a safety hazard. See, e.g., In re MyFord Touch, 46 F. Supp.
  22 3d at 960 (finding allegedly defective vehicle media system posed safety issue
  23 giving rise to duty to disclose); Falk, 496 F. Supp. 2d at 1096. As alleged, the
  24 Defective HVAC Systems create a safety hazard, exposing Plaintiffs and the Class
  25 to mold and/or other contaminants, which can result in allergies, asthma, respiratory
  26 issues and immunological reactions. FAC ¶ 6. The defect also creates additional
       safety concerns in certain Class Vehicles, where the accumulated water can leak
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   1 onto the airbag module, disabling the airbag or causing an inadvertent deployment.
   2 FAC ¶ 7. These allegations, which must be taken as true at this stage, plainly state
   3 that the Defective HVAC System has created unsafe conditions in Class Vehicles.
   4        Toyota’s attachment of a printout from the CDC (ECF No. 39-3) is
   5 unpersuasive. Initially, the CDC printout undermines Toyota’s argument that mold
   6 growth is not a safety hazard. Specifically, the CDC printout notes that mold
   7 exposure can cause a number of health-related issues:
   8               In 2004 the Institute of Medicine (IOM) found there was
   9               sufficient evidence to link indoor exposure to mold with
                   upper respiratory tract symptoms, cough and wheeze in
  10               otherwise healthy people; with asthma symptoms in people
  11               with asthma … Other recent studies have suggested a
                   potential link of early mold exposure to development of
  12               asthma in some children …
  13 ECF 39-3 at 4. While Toyota cites the CDC printout for the proposition that mold
  14 can be found in multiple environments, this is not dispositive as to whether routine
  15 exposure to mold in Class Vehicles’ enclosed passenger compartments can create a
  16 safety hazard. On balance, the CDC printout raises questions of fact, which are not
  17 suitable for resolution at the motion to dismiss stage.
  18 IV. PLAINTIFFS STATE FRAUD CLAIMS UNDER STATE CONSUMER
  19         PROTECTION STATUTES
  20         Toyota’s arguments for dismissal of Plaintiffs’ state consumer protection
  21 statute claims also fail.
  22         First, contrary to Toyota’s argument, the California and state consumer
  23 protection statutes at issue here do not require affirmative misrepresentation and
  24 reliance. The UCL imposes liability on manufacturers that fail to disclose safety
  25 hazards, make representations that are likely to deceive a reasonable consumer, and
  26 who otherwise fail to disclose material information that they are under a duty to
  27 disclose. Becerra v. Gen. Motors LLC, No. 15-cv-2365, 2017 WL 951028, at *9-11
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   1 (S.D. Cal. Mar. 10, 2017). Similarly, the CLRA “imposes liability on a party that
   2 omits a material fact to a consumer, defined as a fact that ‘a reasonable consumer
   3 would deem . . . important’ and ‘would certainly attach importance to the disclosure
   4 of.’” Id. (quoting Collins v. eMachines, Inc., 202 Cal. App. 4th 249 (2011)).
   5 Reliance is not an element of claims under the UCL and CLRA. Yumul v. Smart
   6 Balance, Inc., 733 F. Supp. 2d 1117, 1125 (C.D. Cal. 2010) (listing cases). Instead,
   7 Plaintiff need only allege that “consumers are likely to be deceived.” Id. (quoting
   8 Buckland v. Threshold Enterprises, Ltd., 155 Cal. App. 4th 798, 801 (2007)); see
   9 also Williams v. Gerber Products Co., 552 F.3d 934, 938 (9th Cir. 2008).
  10        The same is true with respect the other state consumer protection statutes.
  11 See, e.g., Third Party Verification, Inc. v. Signaturelink, Inc., 492 F. Supp. 2d 1314
  12 (M.D. Fla. 2007) (holding that under Florida law, “[a] deceptive act is one that is
  13 ‘likely to mislead’ consumers; the pleader need not plead any reliance on the part of
  14 the consumer.”) (citation omitted); Cole v. Hewlett Packard Co., 84 P.3d 1047
  15 (Kan. Ct. App. 2004) (“a plaintiff is not required to prove reliance under the KCPA
  16 to    establish   that   the   defendant   engaged   in   deceptive     acts.”);   Indoor
  17 Billboard/Washington, Inc. v. Integra Telecom of Washington, Inc., 170 P.3d 10, 22
  18 (Wash. 2007) (rejecting argument that reliance is required under the WCPA).
  19      Second, Toyota’s misleading suggestion that state consumer protection
  20 statutes only protect against safety hazards is unfounded. While safety hazards
  21 discovered at any time give rise to a duty to disclose, non-safety related but
  22 otherwise material defects give rise to a duty to disclose when they occur during the
  23 warranty period. See Decker v. Mazda Motor of Am., Inc., No. 11-cv-0873, 2011
  24 WL 5101705 at *4 (C.D. Cal. Oct. 24, 2011) (finding that a manufacturer has a
  25 duty to disclose any defects that fall within the warranty period). See also Muhic
  26 Decl., Ex. 1 at 14 (holding that “the ‘safety-related’ requirement is inapplicable
     where a defect arises during the warranty period.”). Under the CLRA or the UCL,
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   1 materiality exists “if the omitted information would cause a reasonable consumer to
   2 behave differently if he or she were aware of it.” O’Shea v. Epson Am., Inc., No.
   3 09-cv-8063, 2011 WL 3299936, *6 (C.D. Cal. Jul. 29, 2011) (citing Oestreicher v.
   4 Alienware Corp., 544 F. Supp. 2d 964, 971 (N.D. Cal. 2008), aff’d, 322 Fed. App’x
   5 489 (9th Cir. 2009)). To the extent the defect manifested during the warranty
   6 period, Plaintiffs have sufficiently alleged that the Defective HVAC System is a
   7 material defect, and significantly, that Plaintiffs would not have purchased or leased
   8 the Class Vehicles but for Toyota’s omissions and concealment of material facts
   9 regarding the nature and quality of the Class Vehicles and existence of the
  10 Defective HVAC System, or would have paid less for the Class Vehicles. FAC ¶
  11 129.
  12        Toyota’s reliance on Williams v. Yamaha Motor Company Ltd., 851 F.3d
  13 1015, 1019 (9th Cir. 2017) is misplaced. In Williams, the court specifically found
  14 that the defect at issue “will not manifest until the three-year warranty period has
  15 expired.” Id.. As such, the plaintiff was required to make an additional showing
  16 that the defect concerned a safety hazard requiring remedies outside the standard
  17 warranty period. In Williams, the result of the defective dry exhaust was simply to
  18 “accelerate the normal and expected process of corrosion,” and there were no
  19 allegations that “the corrosion would not or should not occur absent the defect.” Id.
  20 at 1028 (emphasis in original). Here, the foul and noxious odors and/or an
  21 associated safety hazard caused by the Defective HVAC System is not a “normal or
  22 expected” effect. See also Muhic Decl., Ex. 1 at 15-16 (holding that a defective
  23 HVAC that causes “an environment favorable to the growth of mold and other
  24 contaminants” constitutes plausible allegations of a safety risk). In any event, as
  25 discussed above, Plaintiffs have alleged that the Defective HVAC System has
  26 created safety hazards. Accordingly, even if Toyota’s arguments are correct,
     Plaintiffs’ claims survive.
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   1 V.      THE ECONOMIC LOSS RULE DOES NOT BAR PLAINTIFFS’
   2         NEGLIGENT MISREPRESENTATION CLAIMS
   3         While the economic loss rule generally bars negligence claims that seek to
   4 recover damages to a defective good caused by the defect, California, Virginia,
   5 Washington, Florida, Kansas and California all recognize exceptions to the
   6 economic loss rule that apply here.
   7         As this Court recently recognized, under California law, “[o]ne nuance to the
   8 general [economic loss] rule holds that a plaintiff may recover in tort for damage to
   9 property ‘other than the product itself.’” Sater v. Chrysler Group, LLC, 2015 WL
  10 736273 (quoting Jiminez v. Super. Ct., 29 Cal. 4th 473, 456 (2002)). In Sater, this
  11 Court found that a defective steering assembly caused other damages to the vehicles
  12 (such as tire wear), and thus plaintiffs met the exception to the economic loss rule
  13 by showing damage to property other than the defective steering assembly. Id. at
  14 *13. As in Sater, the defective part (i.e. the Defective HVAC System) has caused
  15 damage to other parts of the Class Vehicles (e.g., it is contaminating the passenger
  16 compartment), and for similar reasons the economic loss rule does not apply to
  17 Plaintiffs’ negligence claims under California law.
  18         Additionally, under Washington, Kansas, Florida, Colorado, and Virginia
  19 law, Plaintiffs’ negligence claims are not barred by the economic loss rule because
  20 Toyota violated duties independent of any contractual obligations. As the
  21 Washington Supreme Court recognized, the “term ‘economic loss rule’ has proved
  22 to be a misnomer,” and does not bar tort claims for economic losses arising where
  23 the defendant has violated an independent duty. Jackowski v. Borchelt, 278 P.3d
  24 1100, 1105 (Wash. 2012) (quoting Eastwood v. Horse Harbor Found., Inc., 241 P.
  25 3d 1256 (Wash. 2010)) (distinguishing Alejandre v. Bull, 195 Wash. 2d 674, 681
  26 (Wash. 2007)). The Kansas Supreme Court has similarly held that, under the
       “independent duty rule,” the economic loss rule does not bar tort claims where the
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   1 defendant violates a duty independent of its contractual obligations. David v. Hett,
   2 270 P.3d 1102, 1108 (Kan. 2011) (agreeing with Washington and Colorado
   3 Supreme Courts, and overruling prior precedent). The same is true under Florida,
   4 Colorado and Virginia law. See In re MyFord Touch Consumer Litig., 46 F. Supp.
   5 3d at 962-66 (holding economic loss rule did not apply where automobile
   6 manufacture violated independent duty under Florida and Colorado law); Gonella v.
   7 Lumbermens Mut. Cas. Co., 64 Va. Cir. 229 (Va. 2004) (economic loss rule
   8 generally precludes tort claims where there is privity and contractual remedy, but
   9 does not bar claims where independent duty exists).            Accordingly, because
  10 Plaintiffs allege that Toyota has violated its independent duties – i.e., a statutory
  11 duty, a duty not to fraudulently induce another to enter a contract, and a duty to
  12 disclose –the economic loss rule does not apply.
  13 VI.    PLAINTIFFS HAVE SUFFICIENTLY STATED EQUITABLE CLAIMS
  14        IN THE ALTERNATIVE
  15        FED. R. CIV. P. 8(a)(3) specifically allows a party to plead in the alternative.
  16 Indeed, courts within the Ninth Circuit, and those applying the state laws at issue
  17 here, routinely permit plaintiffs to alternatively plead both legal and equitable
  18 claims, such as unjust enrichment. See Longest v. Green Tree Servicing LLC, 74 F.
  19 Supp. 3d 1289, 1302 (C.D. Cal. 2015); Falk, 496 F. Supp. 2d 1088 (permitting
  20 UCL, CLRA and legal claims to proceed); Martorella v. Deutsche Bank Nat’l Trust
  21 Co., 931 F. Supp. 2d 1218, 1227-28 (S.D. Fla. 2013) (allowing unjust enrichment
  22 claim to be pled in the alternative); Robert W. Thomas & Anne McDonald Thomas
  23 Revocable Trust v. Inland Pac. Colo., LLC, No. 11-cv-03333, 2012 WL 2190852,
  24 at *5 (D. Colo. June 14, 2012) (same); Harrell v. Colonial Holdings, Inc., 923 F.
  25 Supp. 2d 813, 826-27 (E.D. Va. 2013) (same); In re Brooke Corp., No. 08-cv-
  26 22786, 2012 WL 1759322, at *18 (Bankr. D. Kan. May 15, 2012) (same).
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   1 Dismissal of Plaintiffs’ alternative claims would be inappropriate on a motion to
   2 dismiss.3
   3 VII. PLAINTIFFS KENNEDY AND ALLEY’S CLAIMS ARE NOT BARRED
   4      BY THE STATUTE OF LIMITATIONS
   5      Toyota asserts that that the warranty claims of Plaintiffs Kennedy and Alley
   6 are time barred under the Virginia and Colorado statutes of limitations. However,
   7 Plaintiffs’ warranty claims are not time-barred as they properly allege grounds for
   8 fraudulent concealment, thus tolling the statute of limitations. See Sater, 2015 WL
   9 736273, at *9 (holding that plaintiff adequately pled fraudulent concealment in
  10 order to toll the statute of limitations of warranty claims); Philips v. Ford Motor
  11 Co., No. 14-cv-02989, 2016 WL 1745948, at *14 (N.D. Cal. May 3, 2016) (same).
  12 Virginia and Colorado also provide for tolling based pursuant to fraudulent
  13 concealment. See Evans v. Trinity Indus., Inc., 137 F. Supp. 3d 877, 884 (E.D. Va.
  14 2015); Patterson v. BP Am. Prod. Co., 360 P.3d 211, 221 (Colo. Ct. App. 2015).
  15         To plead fraudulent concealment, a plaintiff must plead “(a) the substantive
  16 elements of fraud, and (b) an excuse for late delivery of the facts.” Sater, 2015 WL
  17 736273, at *9 (quoting Investors Equity Life Holding Co. v. Schmidt, 195
  18 Cal.App.4th 1519 (2011)); see also Muhic Decl., Ex 2 at 29-30 (finding fraudulent
  19 concealment sufficiently alleged in automotive defect case). As described above,
  20 Plaintiffs had alleged the substantive elements of fraud. Plaintiffs have also plainly
  21 allege that, they “did not discover and did not know of any facts that would have
  22 caused a reasonable person to suspect that Defendant was concealing the defect
  23
       3
  24     Toyota also argues that unjust enrichment is not a cognizable claim under
       California law. Plaintiffs acknowledge that this Court has found that California
  25   does not recognize unjust enrichment as an independent cause of action. See Sater,
  26   2015 WL 736273, at *14. However, “California courts are split on whether unjust
       enrichment can be an independent cause of action.” Victorino, 2016 WL 6441518,
  27   at *11 (citation omitted).
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   1 and/or that the Class Vehicles contained a Defective HVAC system.” FAC ¶ 69.
   2 In fact, Plaintiffs allege that Toyota intentionally “concealed the existence of the
   3 Defective HVAC System to increase profits by selling additional Class Vehicles.”
   4 FAC ¶¶ 8-9, 50-53. Such allegations are sufficient to toll the statute of limitations.
   5 See Sater, 2015 WL 736273, at *9 (finding the statute of limitations tolled where
   6 plaintiff alleged that the vehicle manufacturer intentionally kept plaintiffs ignorant
   7 of their claims).
   8 VIII. THE COURT SHOULD NOT DISMISS CLAIMS BROUGHT ON
   9          BEHALF OF CLASS MEMBERS WHO PURCHASED OTHER
  10          VEHICLES.
  11          As this Court recently recognized in Sonner v. Schwabe North America, Inc.,
  12 No. 15-cv-1358-VAP, 2017 WL 474106, at *3 (C.D. Cal. Feb. 2, 2017) (Phillips,
  13 J.), “a Plaintiff may have standing to assert claims for unnamed class members
  14 based on products he or she did not purchase so long as the products and alleged
  15 misrepresentations are substantially similar.” (quoting Brown v. Hain Celestial
  16 Grp., Inc., 913 F. Supp. 2d 881, 890 (N.D. Cal. 2012)). Significantly, between
  17 1997 and 2013, Toyota released a series of TSBs applying to all Class Vehicles
  18 identifying similar odors being emitted from Class Vehicles’ HVAC systems. FAC
  19 ¶¶ 2, 57-63. Toyota has thus acknowledged that all Class Vehicles are similar and
  20 exhibit similar HVAC odors. To the extent Toyota wishes to raise factual issues as
  21 to any purported material differences among the Class Vehicles, those issues
  22 pertain to class certification and the adequacy and/or typicality prongs of Fed. R.
  23 Civ. P. 23(a); such disputes are not appropriately resolved at the motion to dismiss
  24 stage.
  25          Additionally, following the Supreme Court’s decision in Ortiz v. Fibreboard

  26 Corporation, 527 U.S. 815, 831 (1999), where the Court found that class
     certification issues are “logically antecedent” to Article III concerns, courts have
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                                                              PLAINTIFFS’ MEMORANDUM OF POINTS
                                                                AND AUTHORITIES IN OPPOSITION TO
                                                                  DEFENDANT’S MOTION TO DISMISS
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   1 repeatedly recognized that class certification should be decided before considering
   2 whether the class representative has standing to assert claims on behalf of an
   3 unnamed class member. See Thomas v. Brett Sports & Entm't, Inc., No. 16-cv-
   4 00480, 2016 WL 4472995, at *2 (C.D. Cal. Aug. 23, 2016) (“before the Court
   5 addresses the Article III standing issues that Defendants raise in their Motion, a
   6 motion for class certification is the proper vehicle to resolve the putative class’s
   7 statutory standing”); Byler v. Deluxe Corp., No. 16-cv-493, 2016 WL 8669404, at
   8 *6 (S.D. Cal. Aug. 18, 2016) (listing cases deferring class standing questions to
   9 class certification stage). “Rather than striking class allegations from the pleadings,
  10 ‘[t]he better and more advisable practice for a District Court to follow is to afford
  11 litigants an opportunity to present evidence as to whether a class action [i]s
  12 maintainable.’” Thomas, 2016 WL 4472995, at *2 (quoting Vinole v. Countrywide
  13 Home Loans, Inc., 571 F.3d 935, 942 (9th Cir. 2009)). Accordingly, the proper
  14 course is for the Court to defer questions as to the scope of the class until the class
  15 certification stage of the litigation.
  16                                          CONCLUSION
  17         Toyota’s Motion should be denied for all the reasons set forth above.
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                                                      Respectfully submitted,
  19
  20        DATED: May 8, 2017                        KESSLER TOPAZ
                                                        MELTZER & CHECK, LLP
  21
  22                                            By:        /s/ Peter A. Muhic
                                                           Joseph H. Meltzer
  23
                                                             jmeltzer@ktmc.com
  24                                                       Peter A. Muhic
                                                             pmuhic@ktmc.com
  25
                                                           Melissa L. Troutner
  26                                                         mtroutner@ktmc.com
                                                           Tyler S. Graden
  27
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   1
                                                     tgraden@ktmc.com
   2                                                280 King of Prussia Road
   3                                                Radnor, PA 19087
                                                    Tel.: (610) 667-7706
   4                                                Fax: (610) 667-7056
   5
                                                    KIESEL LAW LLP
   6                                                Paul R. Kiesel
   7                                                Helen Zukin
                                                    Jeffrey A. Koncius
   8                                                Nicole Ramirez
   9
                                                    Attorneys for Plaintiffs and
  10                                                the Proposed Classes
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